                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MISSOURI


GUADALUPE ADAMS, Individually,           :
                                         :
             Plaintiff,                  :
                                         :
v.                                       :              Case No. 6:15-cv-3273
                                         :
KICKAPOO CORNERS, LLC                    :
A Domestic Limited Liability Company     :
             Defendant                   :
_______________________________________/ :


                              JOINT STIPULATION OF
                    FULL AND FINAL DISMISSAL WITH PREJUDICE

Plaintiff, Guadalupe Adams (“Plaintiff”) and Defendant, Kickapoo Corners, LLC

(“Defendant”), by and through their undersigned counsel, pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), stipulate to the voluntary dismissal with prejudice of the above

captioned matter.

1. All of Plaintiff’s claims in this Lawsuit are hereby dismissed with prejudice.

2. Each party shall bear its own attorneys’ fees, expert fees, litigation expenses and costs

incurred in litigating these claims except as otherwise agreed to in writing among the

parties.

Dated: August 25, 2015

By: _/s/ Pete M. Monismith___                      By: _/s/ Richard B. Maltby
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